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  NOT FOR PUBLICATION


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

   GUY DEL GIUDICE, individually and on:
   behalf of all those similarly situated ,
                                       :
                                       :                  Civil Action No. 06-1413 (SRC)
                            Plaintiff, :
                                       :
                    v.                 :                             OPINION
                                       :
   S.A.C. CAPITAL MANAGEMENT, LLC, et :
   al.,                                :
                                       :
                          Defendants. :
                                       :

  CHESLER, District Judge

         This matter comes before the Court upon various motions for sanctions pursuant to

  Federal Rule of Civil Procedure 11 against three attorneys and against the Lead Plaintiff S. Mark

  Doctoroff (“Doctoroff”) personally. The attorneys against whom sanctions are sought are

  Thomas Gentile (“Gentile”), attorney for captioned plaintiff Guy Del Giudice (“Del Giudice”),

  Lead Counsel William B. Federman (“Federman”) of the law firm of Federman Sherwood and

  Liaison Counsel Evan J. Smith (“Smith”) of the law firm of Brodsky & Smith. The primary

  motion for Rule 11 sanctions against these attorneys was filed by Defendants Banc of America

  Securities LLC (“BAS”) and David Maris (“Maris”), a former BAS analyst [docket item no.

  108]. Four separate “me too” motions for sanctions against the attorneys followed: by the
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  “S.A.C. Defendants”1 [docket item no. 111]; by Defendants Arthur Cohen and Joseph Healey

  [docket item no. 113]; by the “Gradient Analytics Defendants”2 [docket item no. 114]; and by

  Defendant Timothy McCarthy [docket item no. 118].3 The primary motion for Rule 11

  sanctions against Doctoroff was also filed by BAS and Maris [docket item no. 125], with

  separate motions for sanctions against Doctoroff filed by the S.A.C. Defendants [docket item no.

  130]; by the Gradient Analytics Defendants [docket item no. 127]; by Cohen and Healey [docket

  item no. 138]; and by McCarthy [docket item no. 134]. All of these motions have been opposed.

  In addition, Lead Counsel Federman Sherwood and Liaison Counsel Brodsky & Smith have

  moved to withdraw as counsel for the Lead Plaintiff [docket item no. 107].

         The Court held oral argument on January 20, 2009. The Court has considered the papers

  filed and the arguments made by the attorneys against whom sanctions are sought and by Lead

  Plaintiff Doctoroff, through his individual counsel, Louis R. Miller of the firm Miller Barondess,

  appearing for Doctoroff in connection with the sanctions motion. For the reasons discussed

  below, the Court sanctions Federman, Smith and Doctoroff and accordingly will dismiss the First

  Amended Class Action Complaint (“Amended Complaint”) without prejudice.


         1
          The “S.A.C. Defendants” are S.A.C. Capital Management, LLC; S.A.C. Capital
  Advisors, LLC; S.A.C. Capital Associates, LLC; Sigma Capital Management, LLC; S.A.C.
  Healthco Fund, LLC; and Steven A. Cohen.
         2
           The “Gradient Analytics Defendants” are Gradient Analytics, Inc.; Camelback Research
  Alliance, Inc.; James Carr Bettis; Donn Vickrey; Pinnacle Investment Advisors, LLC; and Helios
  Equity Fund, LLC.
         3
           The Court notes that the motions filed by Cohen and Healey, by the Gradient Analytics
  Defendants and by McCarthy state that they seek sanctions against Del Giudice, Gentile’s client,
  rather than Gentile himself. As the Court reads these movants’ papers, the Gradient Analytics
  Defendants in fact seek sanctions against Gentile, and the other motions fail to specify how or on
  what basis Del Giudice should be sanctioned.

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  I.     BACKGROUND

         The motions for Rule 11 sanctions revolve around the behind-the-scenes conduct of a

  non-party to this case - Biovail Corporation (“Biovail”), a Canadian pharmaceutical company,

  whose stock price is at the heart of this securities fraud action and two other civil actions. The

  action at bar was filed on March 24, 2006 in the District of New Jersey by Guy Del Giudice on

  behalf of a putative class of sellers of Biovail stock against various hedge funds and securities

  analysts alleging claims for violations of Sections 10(b) and 20(a) of the Securities Exchange

  Act. The Complaint alleged that Defendants4 drove down the price of Biovail stock throughout

  2003 by disseminating false information about Biovail’s products and its business and

  accounting practices, including the publication of articles falsely implying that Biovail had bribed

  doctors to prescribe its newly launched blood pressure medication Cardizem LA. (This action

  will hereinafter be referred to as the “Del Giudice action.”) The two other civil lawsuits closely

  related to the Del Giudice action were pending when the action at bar was filed. First-filed, in

  2003, was a securities fraud class action by Biovail shareholders against Biovail in the Southern

  District of New York, alleging that the Biovail stock price drop in 2003 was caused by Biovail’s

  artificial inflation of the stock price through market misrepresentations and accounting fraud.

  (This action will hereinafter be referred to as the “Biovail securities action.”) The Honorable

  Richard Owen presided over the Biovail securities action at all times relevant to the motions at

  bar. Later, on or about February 22, 2006, Biovail filed in New Jersey state court an action



         4
         When referring to all Defendants generally, the Court will use the collective label
  “Defendants.”

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  against largely the same defendants who would be named in the Del Giudice action,5 alleging a

  short-selling conspiracy in violation state RICO laws. (This action will hereinafter be referred to

  as the “RICO action.”) Complicit in Biovail’s manipulation and abuse of the judicial system are

  the Lead Plaintiff, Doctoroff, and three of the attorneys appearing in the New Jersey securities

  action before this Court. While this Court deals here only with the misconduct of these

  individuals with respect to the action at bar, exposing the improper nature of the pleadings they

  have filed in this action requires an overview of events relating to all three lawsuits.

         The Court begins, as it must, with Judge Owen’s entry of a stipulated protective order in

  the Biovail securities action on April 29, 2005 (the “Owen protective order”). The Owen

  protective order barred the parties to the Biovail securities action from using documents,

  materials or information covered by the order for any purpose other than the prosecution or

  defense of the Biovail securities action. Pursuant to the Owen protective order, Biovail obtained

  by subpoena thousands of documents from BAS. On February 22, 2006, Biovail filed the RICO

  action, basing many allegations in that complaint on information supplied in the documents BAS

  produced under the Owen protective order. About a month later, Gentile, attorney for plaintiff

  shareholder Del Giudice filed the Complaint in this action. The Complaint parroted the RICO

  action complaint almost verbatim, adding a federal securities fraud claim. Indeed, the Complaint

  stated that its was “[b]ased on the facts set forth in the publicly filed complaint in Biovail v.

  S.A.C. [the RICO action].”




         5
           Notably, however, BAS itself was not named a defendant in the RICO action but its
  analyst Maris was.

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         While the Del Giudice action remained mostly dormant for the remainder of 2006,

  important developments were occurring in the Biovail securities action. BAS alerted Judge

  Owen to Biovail’s use of the confidential documents in drafting and filing the RICO action

  complaint. In a written opinion and order dated January 26, 2007, Judge Owen found that

  Biovail had willfully violated the protective order by using BAS’s documents to draft its RICO

  claims. In addition to ordering the return of the BAS documents, Judge Owen ordered Biovail to

  redact from the RICO complaint any allegation referencing a confidential BAS document or

  based on information solely derived from documents covered by the Owen protective order.

  Judge Owen specifically notified this Court of his determination that Biovail’s RICO complaint

  was a product of Biovail’s violation of the protective order and urged this Court “consider

  appropriate steps to protect [BAS]” from injury by further misuse of any of these documents or

  the information of which they are the sole source.” (5/22/08 English Decl., Ex. B.) (The Court

  will refer to Judge Owen’s January 26, 2007 order as the “Owen sanctions order.”)

         Promptly after Owen sanctions order was issued, counsel for BAS, on behalf of all

  Defendants in the Del Giudice action, wrote to Gentile, who had filed the initial Complaint on

  behalf of Del Giudice, and to Federman and Smith, who had been appointed Lead Counsel and

  Liaison Counsel, respectively, for Lead Plaintiff Doctoroff.6 Defendants’ January 30, 2007 letter



         6
           Though this securities fraud action was initiated by Del Giudice, he did not seek
  appointment as Lead Plaintiff pursuant to the Private Securities Litigation Reform Act of 1995
  (“PSLRA”). (The PSLRA, which applies to private actions brought under the Securities
  Exchange Act, such as the Del Giudice action, establishes a procedure for the appointment of a
  lead plaintiff in private class action suits. 15 U.S.C. § 78u-4(a)(3).) By Order dated June 26,
  2006, the Court appointed S. Mark Doctoroff as Lead Plaintiff for the Class, pursuant to the
  PSLRA. It also approved the law firm Federman Sherwood as Lead Counsel for the Class and
  the firm Brodsky & Smith as Liaison Counsel for the Class.

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  advised counsel of Judge Owen’s findings and included a copy of the Owen sanctions order. The

  letter pointed out that, as the document itself indicates, the Complaint in the Del Giudice action

  is based on the RICO complaint Judge Owen had found offended his protective order.

  Defendants accused Gentile, Federman and Smith of violating their Rule 11 obligations and,

  citing the tainted nature of the Complaint’s allegations, demanded immediate withdrawal of the

  Complaint. The Complaint was not withdrawn. Instead, on January 31, 2007, Lead Plaintiff,

  through his counsel Federman and Smith, filed the Amended Complaint. The Amended

  Complaint amplified its allegations to charge some additional wrongdoing but retained the

  original Complaint’s allegations regarding Defendants’ hand in driving down the price of Biovail

  stock through deliberate dissemination of misinformation.

         On February 5, 2007, this Court held a telephone conference on the record to address the

  Owen sanctions order. The Court ordered the Lead Plaintiff to demonstrate the source of

  information for all allegations of the Amended Complaint. The Court ordered Plaintiff “in

  particular, [to] demonstrate that the source for those allegations was not tainted by a violation of

  Judge Owen’s protective order in his Biovail case.” (5/22/08 English Decl. Ex. C, at 18:22-24.)

  These directives were memorialized in the Court’s Order entered on the docket on February 26,

  2007 [docket item no. 69].

         In response, Doctoroff conceded that “[t]he substantive allegations of the original

  Complaint are based almost exclusively on the complaint filed by Biovail in [the RICO action].

  Thus, a substantial portion of the allegations of the Amended Complaint are derived from the

  Biovail Complaint [in the RICO action] . . . .” (Plaintiff’s Response to Court’s February 26,

  2007 Order, at 3-4. [docket item no. 88]) In his submission to the Court, Lead Plaintiff cited


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  Biovail’s RICO complaint as a source of 128 of the Amended Complaint’s 143 paragraphs

  containing factual allegations and the sole source for 88 of those allegations. Lead Counsel and

  Liaison Counsel defended the propriety of the Amended Complaint by distinguishing their role in

  this action from Gentile’s: he filed the initial Complaint, allegedly without investigation, whereas

  Doctoroff and his counsel had become involved in the case at a later time pursuant to the PSLRA

  lead plaintiff provisions. They maintained that all the information underlying the Amended

  Complaint was in the public domain - by virtue of press releases and news reports as well as by

  virtue of the pleadings filed in the Biovail securities action and the RICO action - and that

  Doctoroff was therefore free to prosecute the Del Giudice action on that basis. Doctoroff and

  Class Counsel stated, moreover, that many of the Amended Complaint’s allegations do not

  concern BAS or Maris, and therefore do not implicate the Owen protective order in any way.

  Those that do are salvaged, according to Doctoroff’s response, because the RICO action

  complaint was a matter of public record.

         While the justification of this action was being developed, Judge Owen had initiated a

  hearing in the New York securities action sparked, at least in part, by knowledge that Biovail was

  seeking to obtain through subpoena in the RICO action the documents that Judge Owen had

  ordered returned. The nine-day evidentiary hearing he conducted revealed further information

  about how the confidential information from the BAS documents came to appear in the Del

  Giudice Complaint. In relevant part, the hearings confirmed that the Complaint was not prepared

  by Del Giudice’s attorney, Gentile, but rather it was drafted by Biovail’s counsel at Biovail’s.

  Biovail’s counsel, moreover, identified a shareholder to serve as the plaintiff in the Del Giudice

  action. They sent Gentile the Complaint, which Gentile filed hours after receiving it via e-mail,


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  without meeting his Biovail-selected client, reviewing documents underlying the Complaint or

  interviewing witnesses regarding the conduct alleged. The Del Giudice Complaint was the first

  securities fraud class action complaint Gentile had ever filed. Gentile admitted he made no

  substantive changes to the document he received, other than to remove a reference to an

  investigation on which the allegations were based. He further admitted that he learned after

  filing the pleading that the Complaint was based on documents subject to the protective order

  and that had he known that at the time, he would not have filed the Complaint.

         Federman and Smith, in their brief in opposition to the sanctions motions, stress the

  contrast between Gentile’s pre-filing conduct and the investigation they conducted before filing

  the Amended Complaint. They state that they conducted extensive internet research to learn as

  much as possible about the facts underlying the Complaint, and they also reviewed the RICO

  action complaint and documents electronically filed in connection with that action (which had

  been removed to this Court, but has since been remanded). They detail a meeting between

  Federman and Stuart W. Emmons, both of the Federman Sherwood law firm, and Biovail’s

  counsel, Kasowitz, Benson, Torres & Friedman, LLP (the “Kasowitz firm”) at the Kasowitz

  firm’s New York office on September 20, 2006. During this meeting, which lasted several hours,

  and in a subsequent telephone conversation, Lead Counsel and Biovail’s counsel discussed their

  cases. Biovail’s counsel represented to Lead Counsel that the allegations of a short-seller

  conspiracy set forth in the RICO action complaint were the product of a 16-month investigation

  by the Kasowitz firm. While they discussed the findings of the investigation and the evidence

  relating to some of the Defendants, they did not discuss the evidence underlying the allegations

  against BAS and Maris. Biovail’s counsel explained to Federman and Emmons that most of the


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  factual allegations in the RICO complaint against BAS and Maris were derived from documents

  produced by BAS in the Biovail securities action pursuant to a protective order. Thus, the

  attorneys agreed not to discuss the documents, and Biovail’s counsel informed Federman and

  Emmons that they could not turn over a copy of those documents. Additionally, with respect to

  pre-filing investigation, Federman’s and Smith’s brief points to two media reports: a segment

  that aired on the televison program “60 Minutes” on March 26, 2006 regarding the alleged short-

  seller conspiracy against Biovail and a March 26, 2006 New York Times Article. The “60

  Minutes” piece focused on information provided by three former employees of Camelback, a

  stock analysis firm now known as Gradient Analytics (a Defendant in this action); the New York

  Times article included information provided by the former Camelback employees and by the

  allegations of the RICO action complaint.

         In or about September 2007, shortly after the conclusion of Judge Owen’s hearing,

  Biovail agreed to release BAS and Maris from all claims that arose or could arise from the BAS

  documents covered by the Owen protective order. Biovail withdrew its claims against BAS and

  Maris in the New Jersey RICO action. In or about December 2007, Biovail settled the Biovail

  securities action,7 and then months later settled a similar securities fraud class action in Canada.

         On March 24, 2008, the SEC commenced a civil enforcement action against Biovail and

  officers of the company alleging that Biovail had, among other things, filed false financial

  statements over the period of 2001 to 2003 and artificially inflated its stock price. The same day,

  the SEC announced that Biovail had entered into a consent decree agreeing to pay a $10 million



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         On December 11, 2007, plaintiffs’ attorneys in the New York securities action
  announced that Biovail had agreed to pay $138 million to settle the case.

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  fine to settle the charges. Finally, on May 16, 2008, Biovail announced it had agreed to plead

  guilty to criminal charges of paying doctors in 2002 and 2003 to buy Cardizem and to pay a

  $24.6 million fine in connection with that charge.

         On April 25, 2008, Defendants BAS and Maris served upon Gentile, Federman and Smith

  a motion for Rule 11 sanctions. Their letter addressed to Federman, and copied to Smith, Gentile

  and other counsel, specifically advised that BAS and Maris took the position that Gentile,

  Federman and Smith had violated Rule 11 and notified that unless the Amended Complaint was

  withdrawn by May 16, 2008 (21 days from the date of the notice), BAS and Maris would file a

  motion for Rule 11 sanctions. Lead Plaintiff Doctoroff and his counsel did not voluntarily

  dismiss the Amended Complaint. Instead, on May 16, 2008, Lead Counsel Federman and

  Emmons, from the law firm of Federman Sherwood, and Liaison Counsel Smith, of the firm

  Brodsky & Smith, filed a motion to withdraw as counsel. (A corrected version of the motion was

  filed on May 22, 2008 and appears on the docket as item number 107.) According to the

  attorneys seeking leave to withdraw, their motion “was precipitated by a difference of opinion

  between Counsel and Lead Plaintiff as to the best way to proceed in this action at this time in

  light of the recent developments.” (Federman Opp. Br. at 13 n. 5.) In particular, Federman

  Sherwood and Brodsky & Smith assert that since BAS and Maris gave them notice of their intent

  to file a motion for Rule 11 sanctions, and following Biovail’s settlement of civil and criminal

  enforcement actions as detailed above, they “did not advocate and have not advocated the factual

  contentions of the Amended Complaint.” (Id. at 14.) Neither Lead Plaintiff Doctoroff or other

  counsel have opposed the withdrawal motion.




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         On May 22, 2008, 27 days after they served counsel with the proposed motion, BAS and

  Maris filed their Rule 11 motion with the Court. The other motions for Rule 11 sanctions against

  counsel were filed thereafter, following notice to Doctoroff and counsel as required by Rule 11.

         On June 6, 2008, BAS and Maris served on Doctoroff a separate motion for Rule 11

  sanctions against him personally. Defendants later filed the various motions pertaining to

  Doctoroff. Doctoroff secured his own counsel to defend against the Rule 11 sanctions motions

  against him. He believes the case has merit and wishes to continue to prosecute the claim as

  Lead Plaintiff.

         The Court held oral argument on the motions on January 20, 2009. At the argument,

  counsel arguing on behalf of Federman and Smith acknowledged that while they wished to

  withdraw the Amended Complaint following service of the sanctions motion, their client

  Doctoroff disagreed. Lead Counsel and Liaison Counsel felt that in light of Biovail’s admissions

  of wrongdoing in the SEC enforcement action and guilty plea in a criminal action (both actions

  premised on Biovail’s inflation of its stock price and its payment of kickbacks to physicians for

  prescribing Cardizem LA) the allegations of the lawsuit at bar (premised on deflation of the stock

  by hedge funds and analysts by, among other things, publishing false reports of this kickback

  scheme) could not be pursued. Doctoroff argued that he nevertheless continues to believe in the

  merits of the case and requested that the Court not dismiss the action but rather allow him and

  new counsel - who would move to be appointed Lead Counsel - an opportunity to file a second

  amended complaint.




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  II.    DISCUSSION

         Defendants’ motions for sanctions pursuant to Rule 11 concern three targets: counsel for

  Del Giudice (Gentile) who filed the initial Complaint but did not become Lead Counsel and did

  not file the operative Amended Complaint; Lead Counsel and Liaison Counsel for Lead Plaintiff

  Doctoroff (Federman and Smith, respectively); and Lead Plaintiff Doctoroff. The Court will

  impose sanctions against Federman, Smith and Doctoroff. It finds that the present posture of the

  action will not, however, support Rule 11 sanctions against Gentile. Following a brief overview

  of the jurisprudence governing Rule 11 sanctions, the Court will give its reasons.

         A.      Federal Rule of Civil Procedure 11

          Rule 11 imposes an affirmative duty on an attorney and/or a party to conduct a

  reasonable inquiry into the factual and legal bases of all claims before filing any document with

  the court. Business Guides, Inc. v. Chromatic Commc’ns Enters., Inc., 498 U.S. 533, 551

  (1991); Bensalem Twp. v. Int’l Surplus Lines Ins. Co., 38 F.3d 1303, 1314 (3d Cir. 1994). In

  relevant part, Rule 11 provides:

                 (b) Representations to the Court. By presenting to the court a pleading,
                 written motion, or other paper--whether by signing, filing, submitting, or
                 later advocating it--an attorney or unrepresented party certifies that to the
                 best of the person's knowledge, information, and belief, formed after an
                 inquiry reasonable under the circumstances:

                 (1) it is not being presented for any improper purpose, such as to harass,
                 cause unnecessary delay, or needlessly increase the cost of litigation;

                 (2) the claims, defenses, and other legal contentions are warranted by
                 existing law or by a nonfrivolous argument for extending, modifying, or
                 reversing existing law or for establishing new law;




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                  (3) the factual contentions have evidentiary support or, if specifically so
                  identified, will likely have evidentiary support after a reasonable
                  opportunity for further investigation or discovery . . .

  FED . R. CIV . P. 11(b)(1)-(3).

          In determining whether a party or attorney has violated the duties of Rule 11, the Court

  must apply an objective standard of reasonableness under the circumstances. Mary Ann

  Pensiero, Inc. v. Lingle, 847 F.2d 90, 92 (3d Cir.1988); see also Brubaker Kitchens, Inc. v.

  Brown, 280 F. App’x 174, 185 (3d Cir. 2008) (“It is well-settled that the test for determining

  whether Rule 11 sanctions should be imposed is one of reasonableness under the circumstances,

  the determination of which falls within the sound discretion of the District Court.”). The Third

  Circuit has held that “[a]n inquiry is considered reasonable under the circumstances if it provides

  the party with “an ‘objective knowledge or belief at the time of the filing of a challenged paper’

  that the claim was well-grounded in law and fact.” Bensalem Twp., 38 F.3d at 1314.

          The reasonable inquiry requirement does not prevent an attorney from relying on

  representations made by another person. Garr v. U.S. Healthcare, Inc., 22 F.3d 1274, 1278 (3d

  Cir. 1994). Indeed, because a court must consider all material circumstances in evaluating the

  reasonableness of the inquiry, a court’s determination of whether an attorney has conducted a

  reasonable inquiry may depend on whether the attorney necessarily depended on information

  supplied by another person. Id. at 1278-79. A filing attorney, however, may not rely solely upon

  the inquiry conducted by another attorney, as the Rule 11 duty of investigation is personal and

  non-delegable. Pavelic & LeFlore v. Marvel Entm’t Group, 493 U.S. 120, 126-27 (1989); Garr,

  22 F.3d at 1278, 1280; Greenfield v. U.S. Healthcare, Inc., 146 F.R.D. 118, 124 (E.D.Pa. 1993),


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  aff’d sub nom. Garr v. U.S. Healthcare, Inc., 22 F.3d 1274 (3d Cir. 1994). Whether an attorney’s

  inquiry was reasonable may also depend on the time available to investigate the facts and law.

  Garr, 22 F.3d at 1279. An attorney with ample time to file a document may be expected to

  conduct a more thorough inquiry than an attorney working under pressing time constraints. Id.

  Other factors that a court may consider in evaluating the reasonableness of the investigation

  required by Rule 11 are the necessity for reliance on a client for the underlying factual

  information, the plausibility of the legal position advocated and whether the case was referred to

  the signer by another member of the Bar. Mary Ann Pensiero, Inc., 847 F.2d at 95.

         Rule 11 authorizes a court “to impose an appropriate sanction” on an attorney and/or

  party found to have violated the obligations of the rule. FED . R. CIV . P. 11(c)(1). In this way, the

  rule seeks “to curb abusive litigation tactics and misuse of the court's process.” Gaiardo v. Ethyl

  Corp., 835 F.2d 479, 482 (3d Cir. 1987). The sanction “must be limited to what suffices to deter

  repetition of the conduct or comparable conduct by others similarly situated.” FED . R. CIV . P.

  11(c)(4). Appropriate sanctions may include directives of a non-monetary nature, orders to pay a

  penalty into court, an award of attorneys’ fees and costs, or even dismissal of a case. FED . R.

  CIV . P. 11(c)(4); Gaiardo, 835 F.2d at 482; Greenfield, 146 F.R.D. at 129.

         The matter of Rule 11 violations by a party and/or attorney may be raised by the Court on

  its own initiative or by motion. FED . R. CIV . P. 11(c)(2) and (3). If a party chooses to bring a

  motion for sanctions under Rule 11, it must first serve the motion on the party and/or attorney

  against whom sanctions are sought and then wait at least 21 days after service before filing the

  motion with the court. FED . R. CIV . P. 11(c)(2). This “safe-harbor” provision of Rule 11 permits

  the allegedly offending party or attorney an opportunity to withdraw the challenged pleading. Id.


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         B.      Thomas Gentile

         Exercising its discretion, the Court will not impose sanctions on Gentile. The Complaint

  he filed is no longer controlling in this case, as it has been superseded by the Amended

  Complaint filed on January 31, 2007 by other attorneys. Gentile’s client, Del Giudice, is not the

  Lead Plaintiff in this putative class action, and Gentile is not an attorney for the putative class.

  Gentile had no real opportunity to correct the wrongdoing of which the movants complain. He

  cannot withdraw the offending document - the Amended Complaint - because neither he nor his

  client filed it, and the document Gentile did file on behalf of Del Giudice - the Complaint - has

  not been operative since January 31, 2007. The Court finds that imposing sanctions on Gentile in

  spite of the impossibility of any corrective action on his part in response to Defendants’ notice

  that they would seek Rule 11 sanctions would render the mandatory safe harbor provision of

  Rule 11 without force or effect. Indeed, the rule forecloses a motion for sanctions if the

  offending party or attorney withdraws or corrects the challenged paper, claim, defense,

  contention or denial within the 21-day safe harbor period. In re Shaefer Salt Recovery Inc., 542

  F.3d 90, 99 (3d Cir. 2008). A corollary principle of the mandatory safe harbor provision holds

  that “a Rule 11 motion cannot be made unless there is some paper, claim, or contention that can

  be withdrawn.” Ridder v. Springfield, 109 F.3d 288, 296 (6th Cir. 1997). Thus, where as here, it

  is too late for the offending party to withdraw the challenged paper, because it has become

  inoperative, no sanctions under Rule 11 may issue. Id. at 296-97; see also Barber v. Miller, 146

  F.3d 707, 710 (9th Cir. 1998) (denying Rule 11 sanctions motion where offending complaint had

  long been dismissed, reasoning that imposing sanctions when offending party had no opportunity

  to withdraw claim would defeat purpose of rule’s safe harbor).


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            The Court does not intend to communicate or in any way suggest that Gentile’s conduct

  in connection with filing the Complaint passes muster under Rule 11. Clearly, it does not.

  Gentile admittedly failed to conduct any independent investigation at all before filing the

  Complaint in this action - much less a “reasonable inquiry” of the facts alleged in support of the

  securities fraud claims asserted. See Garr, 22 F.3d at 1280 (finding that attorneys who filed a

  complaint that replicated two other securities class action complaints violated Rule 11 by failing

  to examine materials underlying their complaint’s allegations and claims). He hastily filed the

  pleading he had no role in drafting, with no justifiable reason to rush. See id. (observing that

  time available to investigate the facts and law bears on the reasonableness of the inquiry).

  Gentile conceded that had he known that the Complaint delivered to him by Biovail’s attorneys

  asserted allegations derived from documents covered by another federal court’s protective order,

  he would not have filed the Complaint that initiated the action at bar.

            In short, in light of Gentile’s inability to take advantage of the protection offered by Rule

  11’s safe harbor, the Court holds that the Rule 11 motion for sanctions against him must be

  denied.

            C.     William Federman and Evan Smith

            There is no dispute that Federman and Smith copied the RICO complaint’s factual

  allegations and filed the Amended Complaint without personally investigating the basis for the

  allegations. They themselves identify the RICO action complaint as the sole source of more than

  half of the Amended Complaint’s factual allegations. Their pre-filing investigation consisted of

  discussions with Biovail’s attorneys about the RICO case, on which the instant securities lawsuit

  was modeled. Federman and Smith admittedly did not review the documents on which the


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  allegations against BAS and Maris were based because, as Federman and Smith explain,

  Biovail’s counsel advised Lead Counsel that those documents were produced by BAS in the New

  York securities action pursuant to a protective order. The Third Circuit has held that the attorney

  signing a pleading “has a ‘personal, nondelegable responsibility’ to comply with the requirements

  of Rule 11”. Garr, 22 F.3d at 1278 (quoting Pavelic & LeFlore, 493 U.S. at 126). One attorney

  cannot rely solely on another’s pre-filing investigation. Id. at 1277-79.

         Filing the Amended Complaint, which alleges securities fraud, in reliance on the

  investigation presumably conducted by Biovail’s attorneys in connection with Biovail’s RICO

  action suffices on the facts of this case to draw sanctions. Pavelic & Le Flore, 493 U.S. at 125-

  26; Garr, 22 F.3d at 1280. Indeed, in Greenfield, the United States District Court for the Eastern

  District of Pennsylvania found the pre-filing inquiry of two attorneys, who had relied on the

  investigation conducted by another attorney and on one Wall Street Journal article before filing a

  complaint on behalf of Scott and Patricia Garr, to be unreasonable for purposes of their Rule 11

  duties. Greenfield, 146 F.R.D. at 126-27. As in this case, the attorneys who breached Rule 11

  had copied the complaint they filed for the Garr plaintiffs from a complaint prepared and filed in

  a separate lawsuit by another attorney. Id. at 121. One of the sanctions the district court imposed

  was to dismiss the Garr complaint without prejudice. Id. at 129. On appeal, the Third Circuit

  affirmed. Garr, 22 F.3d at 1280.

         The misconduct by Federman and Smith, however, goes beyond their lack of a reasonable

  independent investigation. Knowing that the RICO complaint was drafted by Biovail’s attorneys

  in willful violation of Judge Owen’s protective order, Federman and Smith nevertheless

  proceeded to file the Amended Complaint. By letter dated January 30, 2007, counsel for BAS


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  and Maris advised them of Judge Owen’s ruling with regard to Biovail’s misuse of the

  information obtained in the Biovail securities action before him and even included a copy of the

  Owen sanctions order with their letter to Doctoroff’s counsel. The Owen sanctions order

  unequivocally censures Biovail’s conduct, orders it to redact from the RICO action complaint

  allegations solely based on Biovail’s violation of the protective order and identifies the Del

  Giudice action as similarly tainted in that it mirrors the RICO action complaint. Apparently,

  Federman and Smith, and their client Doctoroff, believed this Court would countenance the

  prosecution of claims based on information made public as a result of a deliberate violation of

  another court’s order. They were wrong.

         Counsel defends the filing of the Amended Complaint on the absurd ground that the

  claims and allegations are derived from information in the public domain by virtue of the RICO

  complaint. This argument insults this Court and, moreover, mocks the judicial system. When

  they filed the Amended Complaint with this Court, they were fully aware of the Owen sanctions

  order. When pressed by this Court to identify with regard to each of the Amended Complaint’s

  allegations a source of information with no connection to the RICO complaint, Lead Plaintiff and

  his counsel were simply unable to do so.

         The Rule 11 violation committed by Federman and Smith was complete when they filed

  the Amended Complaint. Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 395 (1990). It has

  not been cured. They make a belated attempt to rectify the wrong by arguing that, in what

  represents an insurmountable difference of opinion with their client Doctoroff, they have ceased

  to advocate the Amended Complaint’s claims following Biovail’s settlement of civil enforcement

  proceedings by the SEC and its guilty plea to criminal charges and, accordingly, have moved to


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  withdraw as Doctoroff’s counsel. This assertion, without a corresponding withdrawal of the

  offending document, does not expunge their initial wrongdoing in filing the Amended Complaint

  and, indeed, their ongoing wrongdoing in continuing to press claims based on tainted allegations

  long after the Owen sanctions order. Counsel’s insinuation that their hands are tied with regard

  to their ability to take corrective action, due to their disagreement with their client as to how to

  proceed, is similarly unavailing. See, e.g., Gold v. The Last Experience, No. 97 Civ. 1459, 1999

  WL 156005, at *4 (S.D.N.Y. Mar. 22, 1999) (imposing Rule 11 sanctions on withdrawing

  plaintiff’s attorney following failure to withdraw lawsuit after receiving adequate safe-harbor

  notice, finding that withdrawal as counsel did not absolve attorney of liability under Rule 11).

  No authority has been presented to this Court under which counsel might be protected from

  sanctions without taking the corrective action contemplated by Rule 11a’s safe harbor.

         Apart from clearly failing to investigate the factual allegations themselves, Federman and

  Smith scoffed at the authority of the United States District Court for the Southern District of New

  York. This abuse of the judicial process falls squarely within the conduct Rule 11 prohibits and

  seeks to deter by authorizing sanctions. Teamsters Local Union No. 430 v. Cement Express,

  Inc., 841 F.2d 66, 68 (3d Cir.1988) (holding that Rule 11 sanctions are appropriate “only if the

  filing of the complaint constituted abusive litigation or misuse of the court’s process.”). This

  Court believes that any sanction short of dismissing the Amended Complaint without prejudice

  would reward their misconduct. As will be discussed in more detail below, Doctoroff is equally

  culpable under Rule 11, particularly in light of his adherence to the Amended Complaint. His

  refusal to permit counsel to withdraw that pleading within the safe harbor period demonstrates a

  continuing violation of Rule 11. Thus, the Court finds that the embarrassing conduct of the


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  attorneys together with Lead Plaintiff’s abdication of his responsibilities to the class, under the

  PSLRA, and to this Court as a litigant, warrant dismissal of the Amended Complaint.

         Accordingly, the Court will grant Defendants’ motions for Rule 11 sanctions insofar as

  they target Lead Counsel Federman and Liaison Counsel Smith. The Court will order dismissal

  of the Amended Complaint without prejudice as the appropriate sanction.

         D.      Doctoroff

         Parties, not just their attorneys, are bound by the obligations of Rule 11 and may likewise

  be sanctioned for a breach of those obligations. FED . R. CIV . P. 11(c)(1); Business Guides, Inc.,

  498 U.S. 533, 541 (1991); Cohen v. Kurtzman, 45 F.Supp.2d 423, 436-37 (D.N.J. 1999)

  (sanctioning attorney and client for failure to conduct reasonable pre-filing investigation). Under

  the rule, as amended in 1993, signature on a pleading is not the sole trigger of the rule’s

  obligations. It states that the attorney or party makes certain representations to the Court “[b]y

  presenting to the court a pleading, written motion or other paper – whether by signing filing

  submitting, or later advocating it . . . . ” FED . R. CIV . P. 11(b) (emphasis added). Doctoroff’s

  argument that he should not be sanctioned because he did not sign the Amended Complaint is

  therefore unavailing.8 For the same reasons discussed above with respect to his counsel,

  Doctoroff, as the proponent of the Amended Complaint, is liable for the same lack of adequate

  pre-filing investigation and prosecution of claims he knows are based on a deliberate violation of

  Judge Owen’s protective order.



         8
           The Court notes that the Third Circuit cases he cites in support of his position that a
  signature is required before Rule 11 may apply all pre-date the 1993 amendment. See, e.g.,
  Gaiardo, 835 F.2d at 484 (“The rule focuses on the act of signing the document as a certification
  . . .”).

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         Doctoroff’s continuing prosecution of the Amended Complaint - exemplified by his

  refusal to withdraw the pleading as urged by Lead Counsel and Liaison Counsel - perpetuates the

  Rule 11 violation. Rule 11 does not apply only at the filing stage. It prohibits a party from

  insisting on a position when it becomes, in the course of the litigation, untenable. Balthazar v.

  Atl. City Med. Ctr., 137 F. App’x 482, 490 (3d Cir. 2005) (citing FED .R.CIV .P. 11, Advisory

  Committee Note). On this point, the Sixth Circuit has held that “[a]n attorney and the litigant

  have continuing obligation to review and reevaluate their pleadings, motions and other papers

  and upon discovery that such papers were without merit, to immediately dismiss the action at the

  risk of inviting the imposition of Rule 11sanctions.” Herron v. Jupiter Transp. Co., 858 F.2d

  332, 336 (6th Cir. 1988). As detailed above, the factual allegations of the Amended Complaint

  have a tainted origin and, as events following its filing confirm, are incompatible with Biovail’s

  admission of guilt in a kickback scheme that the Amended Complaint accuses Defendants of

  falsely reporting and with Biovail’s admissions, in connection with the settlement of the SEC

  enforcement action, of making false statements that inflated its stock price.

         Moreover, as Lead Plaintiff in this action, Doctoroff bears a fiduciary obligation to the

  class. In re Cendant Corp. Sec. Litig., 404 F.3d 173, 198 (3d Cir. 2005) (holding that in a

  PSLRA action, “the lead plaintiff serves as a fiduciary for the entire class.”). His position with

  respect to the validity of the claims he wishes to prosecute as Lead Plaintiff runs afoul of that

  obligation. Though Doctoroff states that he continues to believe in the claims, he does not

  explain how he has come to the conclusion that they have merit. When he became involved in

  the case, and agreed to seek the Court’s approval to act as the Lead Plaintiff, he relied only on



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  Federman Sherwood’s description of the case and his attorneys’ representations about the merits

  of the claims. Now, after those same attorneys have taken the position that the claims are no

  longer valid and have so advised Doctoroff, Doctoroff continues to advocate the claims without

  suggesting that he has exercised his fiduciary responsibility to determine, based on his own

  investigation, that the claims have continuing validity.

          Only at oral argument does Doctoroff suggest that perhaps the claims, as pled in the

  Amended Complaint, lack merit, as indicated by his request that the Amended Complaint be

  dismissed with leave of the Court to file a further amended pleading.9 Doctoroff’s representation

  that he wishes to proceed with the case on a different complaint seems to be an attempt to

  simultaneously disavow the pleading currently in effect and avoid potential statute of limitations

  problems that could arise were he to voluntarily dismiss the Amended Complaint and commence

  a new action. The Court rejects his proposed solution. Nothing other than Doctoroff’s

  withdrawal of the offending pleading (within the now-expired safe harbor period) would cure the

  Rule 11 violation he has committed, and the Court will not spare him from sanctions based on

  his tactical preference.




          9
           At oral argument, counsel appearing for Doctoroff personally in connection with the
  Rule 11 sanctions motion stated: “In this particular context, you can dismiss the old complaints
  but I don’t want any part of them. I want to be able to file a new complaint . . . That’s all I ask.
  If I’m not prejudiced by virtue of the statute of limitations or something else, I am not - - I’m not
  wrapping my arms around their complaint. I want my own.” (1/20/09 Tr. Motions for Sanctions
  53:24 - 54:7.)

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         E.      Misconduct Warranting Dismissal of Action Under Rule 11

         The wrongdoing of Gentile, Federman, Smith and Doctoroff with regard to each one’s

  role in prosecuting this action has been detailed, and the Court has given its reasons for imposing

  extraordinary Rule 11 sanctions against Federman, Smith and Doctoroff. Nevertheless, the Court

  believes that its decision to impose the sanction of dismissal of the Amended Complaint without

  prejudice warrants further discussion as to why the circumstances of this case render any lesser

  sanction ineffective. In particular, the Court wishes to expound on the general scheme of abuse

  of our judicial system, a scheme of which this lawsuit and these culpable individuals were but

  one aspect.

         The record before the Court suggests that these proceedings and the RICO action

  proceedings were all part of a choreographed strategy by Biovail and its attorneys designed to

  constitute a counterattack against the Biovail securities action. The record demonstrates that

  highly experienced professionals, i.e., the attorneys who filed and pursued the Del Giudice action

  and the RICO action, were ready and willing tools of Biovail. They ignored their professional

  and ethical obligations and aided Biovail for their own benefit. The proceedings before this

  Court in connection with the Rule 11 sanctions motions have given the impression that all the

  parties to this strategy believe that they can avoid responsibility simply by pointing at each other,

  and ultimately at Doctoroff, who argues that he did not actually “sign” anything but, as he would

  have the Court accept, merely lent his name and position as a shareholder to further the suit.

  This Court refuses to accept that parties and attorneys can engage in such unabashed

  manipulation of our federal and state courts and yet continue to pursue a lawsuit which was filed



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  without even the pretense of a factual investigation by the filer. Our judicial system is not quite

  so impotent.

         The Court recognizes that it is a rare situation in which a case is dismissed as a Rule 11

  sanction without an evaluation of the substantive merit of the claims. Indeed, this Court has

  rejected such efforts on numerous occasions in other cases. Here, however, the conduct is so

  egregious, and the futility of imposing alternate sanctions is so clear, that dismissal is the only

  appropriate sanction. Moreover, the suitability of this disposition is highlighted by the fact that

  Messrs. Federman and Smith themselves ultimately recognized the inappropriateness of

  continuing the litigation. They would have dismissed the claims following the safe-harbor notice

  provided by Defendants if not for Doctoroff’s conclusion that the Amended Complaint should

  not be dismissed, a conclusion he reached, as far as the record demonstrates, without having

  reviewed any of the support for the Amended Complaint’s allegations and claims.

         If Doctoroff and his personal counsel believe that they have viable claims against any of

  these Defendants, they are perfectly free to file them, subject of course to the constraints of Rule

  11 and the applicable statute of limitations. What they will not be permitted to do is to

  piggyback their claims onto the wholly tainted and discredited Amended Complaint currently

  before the Court.

         Therefore, the Court will dismiss the Amended Complaint in its entirety without

  prejudice and without leave to amend.




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  III.   CONCLUSION

         For the foregoing reasons, the Court grants in part and denies in part the motions for Rule

  11 sanctions against Gentile, Federman and Smith filed by BAS and Maris and by the SAC

  Defendants. The motions for sanctions against Del Giudice, Federman and Smith filed by Cohen

  and Healey, McCarthy and the Gradient Analytics Defendants will also be granted in part and

  denied in part. Defendants’ various motions for Rule 11 sanctions against Doctoroff will be

  granted. The Court will order the Amended Complaint dismissed without prejudice as a sanction

  against Lead Plaintiff, Lead Counsel and Liaison Counsel. An appropriate form of Order will be

  filed together with this Opinion.




                                                           s/ Stanley R. Chesler
                                                      STANLEY R. CHESLER
                                                      United States District Judge

  DATED: February 19, 2009




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